Case 3:11-cv-02778-BAS-BLM Document 71 Filed 08/11/17 PageID.581 Page 1 of 2




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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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          SCIENTIFIC PLASTIC PRODUCTS,                 Case No. 11-cv-2778-BAS-BLM
11        INC., a California corporation,
                                                       ORDER GRANTING JOINT
12                                      Plaintiff,     MOTION TO DISMISS
13             v.
14        BIOTAGE AB, BIOTAGE GB LTD.,
          BIOTAGE, LLC, BIOTAGE, INC.,
15        and MERCK & CO.,
16                                   Defendants.
17

18
          RELATED COUNTERCLAIMS AND
19        CROSS-CLAIMS
20

21           Before the Court is Plaintiff Scientific Plastic Products, Inc.’s (“Plaintiff”) and
22   Defendants Biotage AB, Biotage GB Ltd., Biotage, LLC, Biotage, Inc. (collectively,
23   “Biotage”), and Merck & Co.’s joint motion to dismiss without prejudice Merck’s
24   cross-claim against Biotage. (ECF No. 70.) Having reviewed the motion, and noting
25   that the Parties have satisfied Fed. R. Civ. P. 41, the Court GRANTS the joint motion.
26   Merck’s cross-claim against Biotage is dismissed, with each party bearing its own
27   costs and fees. The Clerk of Court shall close the case.
28   //

                                                 –1–                                    11cv2778
Case 3:11-cv-02778-BAS-BLM Document 71 Filed 08/11/17 PageID.582 Page 2 of 2




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 3        IT IS SO ORDERED.
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 5   DATED: August 11, 2017
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